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                         UNITED STATES DISTR ICT COURT
                        SOUTHERN DISTR ICT OF MISS ISS IP PI
                              NORTHERN DIVISION


ALYSSON MILLS, IN HER CAPACITY                      Case No. ______________
AS RECEIVER FOR ARTHUR LAMAR
ADAMS AND MADISON TIMBER                            Arising out of Case No. 3:18-cv-252,
PROPERTIES, LLC,                                    Securities and Exchange Commission v.
                                                    Arthur Lamar Adams and Madison Timber
               Plaintiff,                           Properties, LLC

        v.                                          Hon. Carlton W. Reeves, District Judge

MICHAEL D. BILLINGS and
MDB GROUP, LLC;
TERRY WAYNE KELLY, JR. and
KELLY MANAGEMENT, LLC;
and WILLIAM B. MCHENRY, JR. and
FIRST SOUTH INVESTMENTS, LLC,

               Defendants.



                      JOINT MOTION FOR ENTRY OF ORDER

        Plaintiff Alysson Mills, in her capacity as the court-appointed receiver for Arthur Lamar

Adams and Madison Timber Properties, LLC (the “Receiver”), and Defendants Terry Wayne

Kelly, Jr. and Kelly Management, LLC (collectively “Defendants”), through undersigned counsel,

respectfully file this Joint Motion for Entry of Order and states as follows:

                                              1.

        The Receiver has this day filed a Complaint against Defendants that seeks to recover

“commissions” Defendants received from Arthur Lamar Adams and Madison Timber Properties,

LLC.




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                                              2.

         The parties are mindful that litigation is expensive and the Receiver’s objective is to

maximize funds available for distribution to victims. In the interests of all, the parties desire to

resolve the Receiver’s claims against Defendants amicably, to minimize time and expense to the

receivership estate, Defendants, and the Court.

                                              3.

         By agreement, undersigned counsel for Defendants has accepted service of the Complaint

for Defendants. Defendants waive formal service of the Complaint otherwise required by Rule 4

of the Federal Rules of Civil Procedure. Defendants expressly waive any objections to notice or

service of the Complaint.

                                              4.

         Defendants acknowledge that this Court has subject matter and personal jurisdiction and

that venue is proper in this Court. Defendants expressly waive any objection to jurisdiction or

venue.

                                              5.

         Defendants acknowledge that the Receiver may amend the Complaint within 21 days as a

matter of course, and thereafter with this Court’s permission, to state new factual allegations

against Defendants.

                                              6.

         The Receiver and Defendants have agreed, however, that they will attempt to reach an

amicable resolution of the Receiver’s claims against Defendants before the Receiver amends the

Complaint to state further factual allegations against Defendants. The parties further agree to the

following terms, which they submit for the Court’s approval:


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        a. Within five days [on or before October 6, 2018] Defendants shall make 1) a full and
           complete financial disclosure, using the form provided by the Receiver; and 2) one or
           more good faith proposals to resolve the Receiver’s claims against Defendants relating
           to the “commissions” they received from Madison Timber.

        b. The Receiver shall consider in good faith any proposal by Defendants and shall reply to
           it within five days [on or before October 11, 2018].

        c. Thereafter the parties shall have an additional five days [on or before October 16,
           2018] to work to reach an agreement to resolve the Receiver’s claims against
           Defendants relating to the “commissions” they received from Madison Timber. The
           Receiver has no obligation to accept any proposal by Defendants and has no obligation
           to make a counter-proposal. The acceptance or rejection of all or part of any proposal
           shall be solely at the discretion of the Receiver.

        d. The parties’ negotiations shall be confidential and subject to all of the protections of
           Federal Rule of Evidence 408.

        e. Any information shared by either party during this fifteen-day period [through and
           including October 16, 2018] shall be treated as confidential, as follows:

              i. “Confidential” may be used to describe material that contains 1) information
                 prohibited from disclosure by law; 2) financial information that a party has
                 treated as confidential in the ordinary course of business; 3) a party’s income tax
                 returns, including attached schedules and forms; and 4) any person’s social
                 security number or other identifying information.

             ii. Any party may designate any material “Confidential.” By designating any
                 material “Confidential” a party’s counsel certifies that the material contains
                 “Confidential” information as defined above.

             iii. The parties and their counsel shall not disclose any material designated
                  “Confidential” to any third person or entity, except that they may disclose it to a
                  consultant or expert employed by the parties and their counsel to assist in them in
                  the prosecution or defense of the claims in the Complaint.

             iv. If, in the prosecution or defense of the claims in the Complaint, the parties desire
                 to submit any material designated “Confidential” to the Court, they shall do so
                 under seal.

        f. During this fifteen-day period [through and including October 16, 2018] the parties
           shall not file any motion or pleading against the other into the Court’s record, unless by
           consent; shall not make formal discovery requests of the other, unless by consent; and
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             shall not take any other action in this Court that would require a response by the other.
             Nothing herein affects the Receiver’s rights to take any action in this Court against
             other defendants named in the Complaint, including by filing motions and pleadings
             and making formal discovery requests.

        g. During this fifteen-day period [through and including October 16, 2018] Defendants,
           individually and collectively, shall not, directly or indirectly:

               i. transfer, sell, convey, disburse, dispose of, mortgage, encumber, or otherwise
                  transfer any property of any type or description in which any Defendant has any
                  legal, equitable, or other interest, including, but not limited to, any stocks, bonds,
                  negotiable instruments, certificates of deposit, notes, cash, personal property,
                  furniture, fixtures or equipment, real estate, other tangible or intangible property
                  of any type, or any inchoate or choate interests; provided, however, that
                  Defendants may make cash disbursements up to the maximum amount and in the
                  aggregate of $7,500;

              ii. incur any indebtedness, confess to judgment, or otherwise acknowledge any
                  obligation, debt, or other liability or obligation; or mortgage, permit a lien upon,
                  or encumber any property of any type or description; provided, however, that
                  Defendants may, together, incur indebtedness in the ordinary course of business
                  up to the maximum amount of $2,500; or

              iii. cause or permit any person acting in concert with any Defendant to commit any
                   act or omission prohibited above.

        h. Any agreement between the parties to resolve the Receiver’s claims against Defendants
           shall be in writing and signed by both parties.

        i. On or before October 17, 2018 the Receiver shall advise the Court whether the parties
           have reached an agreement to resolve the Receiver’s claims against Defendants.

        j. Any agreement between the parties to resolve the Receiver’s claims against Defendants
           shall be subject to the Court’s approval, after appropriate notice and hearing.

                                                7.

        If the parties do not reach any agreement to resolve the Receiver’s claims against

Defendants, the Receiver may amend the Complaint within 21 days as a matter of course, and

thereafter with this Court’s permission, to state further factual allegations against Defendants.


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                                               8.

        Defendants acknowledge that the Fifth Circuit has approved a “summary judgment type

procedure” for the litigation of a receiver’s claims to assets in the possession of third parties. See

SEC v. Sharp Capital, Inc., 315 F.3d 541, 545 (5th Cir. 2003). See also SEC v. Bjork, No.

11-2830, 2012 WL 1392082 (S.D. Tex. Apr. 19, 2012) (unpublished); SEC v. Millennium Bank,

No. 09-50, 2009 WL 10689053 (N.D. Tex. July 21, 2009) (unpublished). “[S]ummary proceedings

are appropriate and proper to protect equity receivership assets,” United States v. Ariz. Fuels

Corp., 739 F.2d 455, 458 (9th Cir. 1984), and are “within the broad powers and wide discretion the

district court enjoys to adjudicate relief in an equity receivership proceeding,” Sharp Capital, Inc.,

315 F.3d at 545. Summary proceedings reduce time and cost for all parties, and therefore serve

equally the best interests of the Receivership Estate and Defendants.

                                               9.

        Defendants consent to, and expressly waive any objection to, the use of summary

proceedings as provided in the proposed Scheduling Order for Summary Proceedings [attached

Exhibit A] for the litigation of any causes of action that the Receiver currently alleges against

Defendants, including without limitation the Receiver’s cause of action to avoid “commissions”

fraudulently transferred to Defendants by Arthur Lamar Adams or Madison Timber Properties,

LLC. The Receiver separately shall move the Court to consider and, if it approves, enter the

proposed Scheduling Order for Summary Proceedings if the parties do not resolve the Receiver’s

claims against Defendants.




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                                              10.

        Consistent with all of the foregoing, the parties jointly submit the attached proposed order

for the Court’s approval and entry. Undersigned counsel represents that their respective clients

have reviewed this motion and the proposed order and consent to its entry.


                                      ___________________


        WHEREFORE, the Receiver and Defendants respectfully submit the attached proposed

order for the Court’s approval and entry.




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October 1, 2018
Respectfully submitted,

/s/ Lilli Evans Bass                             /s/ Joseph “Whit” Cooper
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